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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF OKLAHOMA

ERICKA VANDEVENTER, AN                            )
INDIVIDUAL,                                       )
                                                  )
                      Plaintiff,                  )
                                                  )
vs.                                               )
                                                  )
SERINA VACIN, AN INDIVIDUAL,                      ) Case No. 17-CV-434-JHP
AND/OR COUNTRY PREFERRED                          )
INSURANCE COMPANY, A FOREIGN                      )
INSURANCE COMPANY AND/OR                          )
COUNTRY MUTUAL INSURANCE                          )
COMPANY, A FOREIGN INSURANCE                      )
COMPANY,                                          )
                                                  )
                      Defendants.                 )

                                    NOTICE OF REMOVAL

       TO THE CLERK OF THE ABOVE-ENTITLED COURT AND TO THE PLAINTIFF

AND HER ATTORNEYS OF RECORD:

       PLEASE TAKE NOTICE THAT, pursuant to 28 U.S.C. §§ 1441 and 1446, Defendant,

Country Preferred Insurance Company (“CPIC”), herby submits its Notice of Removal. In

support of its Notice of Removal, CPIC alleges and states as follows:

       1.      The above-captioned matter is a civil action currently pending in Wagoner

County District Court, State of Oklahoma. See Plaintiff’s Petition attached hereto as Exhibit 1.

This civil lawsuit falls within this Court’s original jurisdiction pursuant to 28 U.S.C. § 1332(a).

Accordingly, it can be removed to this Court by CPIC pursuant to the provisions of 28 U.S.C. §

1441, because the parties properly joined and served are completely diverse and the amount in

controversy exceeds the sum of $75,000.00, exclusive of interest and costs.
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        2.         On August 24, 2017, Plaintiff, Ericka VanDeventer (“Plaintiff”) commenced a

civil action in the District Court of Wagoner County, State of Oklahoma, styled as Ericka

VanDeventer v. Serina Vacin, an Individual, and/or Country Preferred Insurance Company, a

Foreign Insurance Company and/or Country Mutual Insurance Company, a Foreign Insurance

Company, Case No. CJ-2017-00253. See Exhibit 1.

        3.         On November 13, 2017, CPIC was served with a copy of the Summons and

Petition through the Oklahoma Insurance Department via certified mail. See Summons Returned

Executed attached as Exhibit 2.

        4.         Plaintiff brings the current lawsuit pursuant to an automobile insurance policy

issued by CPIC. Plaintiff alleges that on August 28, 2015, she was involved in a motor vehicle

collision with Defendant, Serina Vacin (“Vacin”) and suffered damages. As a result of said

damages, Plaintiff submitted a claim to CPIC pursuant to a policy issued to Darrin Dungan.

Plaintiff states that she is entitled to benefits under the automobile insurance policy issued by

CPIC to Darrin Dungan. See Exhibit 1, at ¶¶ 6, 13, and 15.

        5.         Plaintiff further alleges that CPIC failed to make a settlement offer and

unreasonably failed to deal fairly and in good faith with its insured. See Exhibit 1, at ¶¶ 22-23.

Plaintiff also alleges that CPIC’s conduct was oppressive, malicious, grossly negligent, willful,

wanton, and with utter and reckless disregard for the contractual and legal rights of Plaintiff. See

Exhibit 1, at ¶ 26.

        6.         As a result, Plaintiff alleges that she suffered delay, loss of coverage benefits,

consequential damages, and punitive damages. See Exhibit 1, at ¶¶ 24-26.

        7.         In her Petition, Plaintiff “demands judgement against CPIC and/or CMIC for the

full amount of the medical payments and underinsured motorist coverage in excess of




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$75,000.00, pre-judgement and post-judgement interest, punitive and exemplary, a reasonable

attorneys fee and costs . . . .” See Exhibit 1. Accordingly, it is undisputed that the matter in

controversy exceeds the sum of $75,000.00, exclusive of interest and costs.

        8.         As to the question of diversity between the parties, Plaintiff is a resident of the

state of Oklahoma. See Exhibit 1, at ¶ 1.

        9.         CPIC is foreign corporation incorporated under the laws of the State of Illinois

with its headquarters and principal place of business in Illinois.

        10.        Vacin is alleged to be a resident of the state of Oklahoma, but has never been

served in this action. See Exhibit 1, at ¶ 2.

        11.        In addition, on November 19, 2015, Plaintiff settled her claims against Vacin for

her full liability limits. See Letter from Amorie Jones to GEICO dated November 19, 2015,

attached as Exhibit 3.

        12.        Plaintiff’s voluntary act of settling her claims against Vacin effectively

eliminates Vacin as a party in interest to the litigation and, consequently, from determinations of

diversity jurisdiction.

        13.        Pursuant to 28 U.S.C. § 1441(b)(2), this action remains removable despite the

presence of an Oklahoma defendant, because the Oklahoma defendant has not been “properly

joined and served” as required by the rule. Further, Vacin has been fraudulently joints, is a

nominal party, or is no longer a real party in interest, inasmuch Plaintiff has reached a settlement

with Vacin.

        14.        This Court has diversity jurisdiction over this proceeding pursuant to 28 U.S.C. §

1332 because the parties properly joined and served are completely diverse, and because the

amount in controversy exceeds $75,000.00.




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        15.        The Notice of Removal is filed within thirty (30) days following the receipt by

CPIC of Plaintiff’s Summons and Petition. Therefore, this Notice of Removal is timely filed

pursuant to 28 U.S.C. § 1446. See Exhibit 2.

        16.        CPIC expressly does not waive any of the defenses and objections set forth in

Rule 12(b) of the Federal Rules of Civil Procedure.

        17.        All state court papers filed in this action at the time of removal and the docket sheet

are attached hereto as Exhibit 4.

        18.        Written notice of the filing of this Notice of Removal will be given promptly to

the Plaintiff, and a copy of the Notice of Removal will be filed with the Clerk of the District

Court of Wagoner County, State of Oklahoma as provided by 28 U.S.C. § 1446(d).

        WHEREFORE, Defendant, Country Preferred Insurance Company requests that this

action be removed to the United States District Court for the Eastern District of Oklahoma.


                                                  Respectfully Submitted,

                                                  WILBURN, MASTERSON & FLEURY



                                                  By
                                                       _s/David R. Fleury ______________________
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                                 CERTIFICATE OF MAILING

        I, David R. Fleury, hereby certify that on this 22nd day of November, 2017, I
electronically transmitted the attached document to the Clerk of Court using the ECF System for
filing and transmittal of a Notice of Electronic Filing to the following ECF registrants:

Jack G. Zurawik
ZURAWIK LAW FIRM
P.O. Box 35346
Tulsa, OK 74153-0346
Attorney for Plaintiff

Timothy Clancy
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Tulsa, Oklahoma 74135
Attorney for Plaintiff




                                                   _s/David R. Fleury ____________________
                                                   DAVID R. FLEURY


DRF/krs




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